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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 BRAD E. BRYNJOLFSSON,
                                                         CIVIL ACTION
      Plaintiff,

 v.                                                      COMPLAINT         1:17-cv-04597

 MANLEY DEAS KOCHALSKI LLC,
                                                         JURY TRIAL DEMANDED
      Defendant.

                                           COMPLAINT

        NOW COMES the Plaintiff, BRAD E. BRYNJOLFSSON, by and through his attorneys,

SULAIMAN LAW GROUP, LTD., complaining of the Defendant, MANLEY DEAS

KOCHALSKI LLC, as follows:

                                       Nature of the Action

1.      This is an action brought by a consumer seeking redress for violation(s) of the Fair Debt

        Collection Practices Act, 15 U.S.C. § 1692 et seq.

                                      Jurisdiction and Venue

2.      Subject matter jurisdiction exists over the Fair Debt Collection Practices Act claim(s) under

        28 U.S.C. §§ 1331 and 1337.

3.      Venue is proper under 28 U.S.C. § 1391(b) as a substantial part of the events giving rise to

        the claims took place in the Northern District of Illinois.

                                               Parties

4.      BRAD E. BRYNJOLFSSON (“Brynjolfsson”) is a natural person, over 18-years-of-age,

        who at all times relevant resided at the property commonly known as 234 Arapahoe Trail,

        Carol Stream, Illinois 60188 (“subject property”).



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5.    MANLEY DEAS KOCHALSKI LLC (“MDK”) is a foreign limited liability company

      formed under the laws of the State of Ohio. MDK provides default litigation services to

      financial institution clients in Illinois. MDK has a principal place of business located at

      1555 Lake Shore Drive, Columbus, Ohio 43204.

                                     Factual Allegations

6.    On January 28, 2003, Brynjolfsson executed a mortgage in favor of Aegis Wholesale

      Corporation to secure a note in the amount of $157,000.00.

7.    On November 26, 2013, Aegis Wholesale Corporation assigned and transferred all its

      rights, title and interests to Wells Fargo Bank, N.A. (“Wells Fargo”).

8.    On January 1, 2016, having suffered financial hardship, Brynjolfsson defaulted on his

      mortgage payments to Wells Fargo.

9.    On July 21, 2016, Wells Fargo by and through its attorneys, MDK, filed a complaint to

      foreclose mortgage on property commonly known as 234 Arapahoe Trail, Carol Stream,

      Illinois 60188, against Brynjolfsson, Maria E. Brynjolfsson, and unknown owners and non-

      record claimants.

10.   On October 12, 2016, the trial court granted Wells Fargo’s motions (1) to dismiss unknown

      owners and non-record claimants, (2) for default judgment against defendants Brynjolfsson

      and Marie E. Brynjolfsson. The trial court also granted Wells Fargo’s motion for entry of

      judgment of foreclosure and sale.

11.   On January 23, 2017, Wells Fargo, by and through its attorneys, MDK, filed a notice of

      sale scheduled for March 7, 2017 at 10:00 a.m.

12.   On March 6, 2017, a bankruptcy case concerning Brynjolfsson was filed under Chapter 13

      of the Bankruptcy Code seeking to save his home from foreclosure



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13.   The bankruptcy schedules filed by Brynjolfsson listed MDK and Wells Fargo Home

      Mortgage on Schedule D – Creditors Holding Secured Claims.

14.   On March 7, 2017, a judicial sale occurred, and the subject property was sold to a third

      party.

15.   On March 13, 2017, Todd J. Ruchman (“Ruchman”), an attorney employed by MDK filed

      a notice of appearance and request for notice in Brynjolfsson’s bankruptcy case.

16.   On March 14, 2017, Ruchman filed an objection to confirmation of Brynjolfsson’s Chapter

      13 plan on behalf of Wells Fargo.

17.   On March 23, 2017, Ruchman filed a proof of claim (Claim 1-1) on behalf of Wells Fargo.

      Bank, N.A.

18.   On May 13, 2017, Luai Abuhilal (“Abuhilal”) and another unknown male arrived at the

      subject property seeking to speak with Brynjolfsson. Abuhilal informed Brynjolfsson’s

      neighbor, George Ruwe and Brynjolfsson’s brother-in-law, Jeff Bott (“Bott”) that he was

      the successful purchaser of the subject property at judicial sale on March 7, 2017.

19.   Immediately thereafter, Bott placed a call to Brynjolfsson, providing Brynjolfsson with

      Abuhilal’s contact information.

20.   Brynjolfsson placed a call to Abuhilal, who advised Brynjolfsson that he was the successful

      purchaser of the subject property at judicial sale on March 7, 2017.

21.   Brynjolfsson advised Abuhilal that on March 6, 2017, a bankruptcy case concerning

      Brynjolfsson was filed under Chapter 13 of the Bankruptcy Code.

22.   Abuhilal steadfastly maintained that Brynjolfsson’s bankruptcy attorneys failed him, and

      that he no longer was the owner of the subject property.




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23.   On May 23, 2017, Brynjolfsson’s bankruptcy attorneys sent MDK and Ruchman

      correspondence advising them that on March 7, 2017, they conducted an unlawful judicial

      sale of the subject property, and demanded that they move to set aside the March 7, 2017

      judicial sale within seven (7) days of receipt of correspondence.

24.   Despite receipt, MDK ignored Brynjolfsson’s bankruptcy attorneys’ demand that they

      move to set aside the March 7, 2017 judicial sale.

                                           Damages

25.   MDK’s acts and omissions are the proximate causation of Brynjolfsson’s aggravation,

      confusion, extreme emotional distress, frustration, and humiliation.

                  Count I – Violation(s) of the Fair Debt Collection Practices Act
                              15 U.S.C. § 1692f(1)– Unfair Practices

26.   Paragraphs 1 through 25 are re-alleged as though fully set out herein.

27.   All paragraphs of this Complaint are expressly adopted and incorporated herein as if fully

      set forth herein.

28.   Brynjolfsson is a “consumer” as defined by 15 U.S.C. §1692a(3).

29.   MDK is a “debt collector” as defined by 15 U.S.C. §1692a(5).

30.   MDK was attempting to collect a debt used for “household purpose” as defined by 15

      U.S.C. §1692a(5).

31.   Upon the filing of a petition, the Bankruptcy Code prohibits all acts to “collect, assess, or

      recover a claim” outside of the bankruptcy forum.

32.   The automatic stay (11 U.S.C. § 362) is a stay against, or a halting of, creditor collection

      efforts once a bankruptcy case is commenced.

33.   As its name suggests, the stay automatically arises the moment the debtor files a bankruptcy

      petition.


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34.   MDK violated 15 U.S.C. § 1692f(1) by using unfair or unconscionable means to attempt

      to collect a debt not permitted by law.

35.   Specifically, MDK violated by 15 U.S.C. § 1692f(1) by conducting a judicial sale of the

      subject property on March 7, 2017; notwithstanding the fact that on March 6, 2017, a

      bankruptcy case concerning Brynjolfsson was filed under Chapter 13 of the Bankruptcy

      Code – in violation of the automatic stay.

36.   Brynjolfsson may enforce the provisions of 15 U.S.C. § 1692f(1) pursuant to section k of

      the Fair Debt Collection Practices Act (15 U.S.C. § 1692k) which provides "any debt

      collector who fails to comply with any provision of [the Fair Debt Collection Practices

      Act] with respect to any person is liable to such person in an amount equal to the sum of -

      (1)     any actual damage sustained by such person as a result of such failure;

      (2)

              (A)    in the case of any action by an individual, such additional damages
                     as the court may allow, but not exceeding $1,000.00; or

      (3)     in the case of any successful action to enforce the foregoing liability, the
              costs of the action, together with reasonable attorney's fees as determined
              by the court.




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       WHEREFORE, Brynjolfsson requests the following relief:

       a.       find that MDK violated 15 U.S.C. § 1692f(1);

       b.       award actual, and statutory damages, and costs of this action including expenses

                together with attorneys’ fees as determined by this Court; and

       c.       grant any other relief deemed appropriate and equitable.

Plaintiff demands trial by jury.

June 20, 2017                                                Respectfully submitted,

                                                             /s/ Joseph Scott Davidson

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